Case 1:21-cv-03832-NCM-JRC Document 34 Filed 07/13/22 Page 1 of 9 PageID #: 270


                                                                                    FILED
                                                                            lie   '!^ CLERK'S
                                                                            U.S. DISTRICT     OFFICE
                                                                                           COURT  E.D.N.Y.
 Signature                 Date Q                                       * JUL 1 3 2022 ★
                                                                        (      •



 176 ELDRIDGE ST APT BA
                                                                         BROOKLYN OFFICE
 Street Address
                                                   Q)   CG   0W

 NY. NY 10002
                                                    ""jUL 1 3 2022
 City M ilT       State f\'\        ZIP             PRO SE OFFICE




 Best Telephone Number(s)


 Email


 512 Avenue U. Brooklyn. NY 11223
 Work Location(s)


 Employment Start Date                    0



     a
 Employment End Date

         THE LAST DAY TO FILE THIS CONSENT TO JOIN LAWSUIT FORM IS
                                               08/02/2022
                                                                     02/2022

 CONSENT TO JOIN LAWSUIT FORMS FILED AFTER TI E ABOVE DATE WILL BE
                                                REJECTED.



   IF YOU WISH TO JOIN THE ABOVE-CAPTIONED CASE YOU MUST MAIL THE
  ENCLOSED CONSENT TO JOIN LAWSUIT FORM POSTMARKED BY [08/02/2022]

                                              [08/02/2022]

 Mail to /                                CLERK OF COURT
                 United States District Court, Eastern District of New York
                        225 Cadman Plaza East, Brooklyn, New Y )rk 11201
              RE: NYED 21-cv-03832 LIN, et al. v. FUJIHANA RtSTAURANTCORP
                 d/b/a Fuji Hana Kosher Japanese Restaurant d/b/k Fuji Hana et al
Case 1:21-cv-03832-NCM-JRC Document 34 Filed 07/13/22 Page 2 of 9 PageID #: 271
                                             omw
 5732+42



  UNITED STATES DISTRICT COU ^TRO SE OFFICE *
                                                    3
                                           JUL 1 3 2022
                                                                     21-cv-03832
 EASTERN DISTRICT OF NEW YORK
                                                           1^"^: 21-CV-03832
                                                     ■X

 DESHENG LIN,                                              COURT AUTHORIZED

 YUN YAN GAG, and                                          NOTICE OF 29 U.S.C. § 216(b)
 SIU NA CHAN,                                              COLLECTIVE ACTION

 on behalf ofthemselves and on behalfof others similarly
                                                                               U.S.C. §
  situated
                                                           216(b)
                                     Plaintiffs,
                                                           IMPORTANT NOTICE
                                                           ADVISING YOU OF YOUR
                            V.
                                                           RIGHTS

 FUJI HANA RESTAURANT CORP d/b/a Fuji Hana
 Kosher Japanese Restaurant d/b/a Fuji Hana et al
                                     Defendants,
                                                     ■X




If you worked for FUJI HANA RESTAURANT CORP
d/b/a Fuji Hana Kosher Japanese Restaurant d/b/a Fuji
Hana, located at 512 Avenue U, Brooklyn, NY 11223, you
are eligible to join this lawsuit.
 Jto ^       ^       -IK         Jit 7^ 512 Avenue U, Brooklyn, NY
11223   FUJI HANA RESTAURANT CORP d^/a Fuji
Hana Kosher Japanese Restaurant d/b/a Fuji Hana,


                        The Court Authorized this Notice.


                    This is not a Solicitation from a Lawyer

         THIS NOTICE is meant to advise you of your right to participate in this lawsuit as a
 claimant and plaintiff under the Fair Labor Standards Act if you worked for Defendants at any
 time from July 07, 2018 to the present and were not paid minimum wage for all hours worked
 and/or were not paid overtime for all hours worked over 40 in any given workweek.

                                        2018 -^7^7 n
Case 1:21-cv-03832-NCM-JRC Document 34 Filed 07/13/22 Page 3 of 9 PageID #: 272




        Plaintiffs pESHENG LIN, YUN YAN GAO,and SIU NA CHAN worked for Defendants
 and has brought this action on behalf of all other current and formdr employees who have worked
 for Defendants at 512 Avenue U,Brooklyn, NY 11223 since July 07,2018.

              DESHENG LIN. YUI| YAN GAO            SIU NA CHAN f                               2018
 ^7 M 7                      512 Avenu4 U, Brooklyn, NY 11223
                                      1




      The lawsuit seeks monetary damages under the federal Fair Labor Standards Act and the
 New York Labor Law for, among other things, allegedly owed minimum wages and overtime
 wages. Defendar ts deny these all[egations.



   Federal law prohibits Defendants from retaliating against yo u or discriminating against
                             you if you wish to join this lawsuit.


                YOUR LEGAL RIGHTS AND OPTIONS IN TIIIS LAWSUIT
                             ■ 1'
  ASK TO BE IT^CLUDED                If you wish to be included, you i nust complete the form at the
                                     end ofthis Notice.



  DO NOTHINC                        1 If you do nothing, you will not be part of the lawsuit. This
                  ^            1      nieans if the lawsuit is successfill, you will not collect any
                                    1 money from it.




        Your options are explained in this notice. To ask to be inc uded in this lawsuit, you must
 act before 08/02/20^
                  I "'   .     ,



                                                                     ,             08/02/2022

 1. What is thiis lawsuit about?                                  ^6i7
Case 1:21-cv-03832-NCM-JRC Document 34 Filed 07/13/22 Page 4 of 9 PageID #: 273




         This lawsuit is about whether the Defendants properly paid its employees in accordance
 with the federal Fair Labor Standards Act and the New York Labor Law. In the portion of the
 lawsuit brought under the Fair Labor Standards Act, the lawsuit alleges, among other things, that
 Defendants (i)failed to pay employees the full minimum wage for all hour worked and (ii) failed
 to pay overtime for all hours worked over 40 in any given workweek.




        Defendants deny these allegations.


 2. Do I Qualify to Join the Lawsuit?
        You are getting this notice because Defendants' records show that you work or worked
 for Defendants at some time from July 07,2018 through the present.

                                                        2018 4 7^7
 ti^3FiL-4Xft^o

 3. What damages is the lawsuit seeking?
         The lawsuit is seeking to recover, among other things, unpaid minimum wages, unpaid
 overtime pay, and "liquidated damages," which double the amount of wages owed. The lawsuit is
 also seeking recovery of costs and attorneys' fees.


                                 ^6^ iL th        fo

 4. What happens if I join the lawsuit?
        If you choose to join this lawsuit, you will be bound by any ruling, settlement orjudgment,
 whether favorable or unfavorable. You will also share in any proceeds from a settlement or a
 favorable judgment.




 iSio jih4,

         While this lawsuit is pending, as part of the discovery process, you may be asked to
 provide documents or information relating to your employment with Defendants, which may
 include responding to written questions or answering questions in person under oath, either
 before or at trial. For this reason, if you join the lawsuit, you should preserve all documents
 relating to the Defendants currently in your possession. You also may be asked to sit for a
Case 1:21-cv-03832-NCM-JRC Document 34 Filed 07/13/22 Page 5 of 9 PageID #: 274




 deposition scheduled at your convenience and/or asked to testif r at a trial in the EASTERN
 DISTRICT OF NEW YORK Courthouse.




                                                                                            M^%4:



 5. Can Defenclants and/or                  current employer retaliate or fire me ifI join the
 lawsuit?dlg^4^^^^>
         No. It is a violation of federal law for Defendants to fire      discipline, or in any manner
 discriminate or retaliate against ypui for taking part in this lawsuit




 6. Can I participate in this lawsuit,even though,due tb my immigration status,
 I did not work or am not wprking for Defendants leg ally?


         Yes. Your immigration status does not affect your entitlement to recover back wages or to
 participate in the lawsuit.



 7. How do I ask the Court Ito include me in the lawsuit?



         Enclosed is a form called the "Plaintiff Consent Form, on choose to join the lawsuit,
 it is extremely important that you read, sign, and promptly return the Plaintiff Consent
 Form,




                  !                 I   I
                  I                 I
                  i                 I   I

         An addressed and postage paid envelope is enclosed for your convenience. Should the
 enclosed envelope be lost or misplaced, the Plaintiff Consent Fonp must be sent to the following
 address:




                                             CLERK OF COURT
Case 1:21-cv-03832-NCM-JRC Document 34 Filed 07/13/22 Page 6 of 9 PageID #: 275



                                   United States District Court
                                   Eastern District of New York
                                      225 Cadman Plaza East
                                    Brooklyn, New York 11201

                                      RE: NYED 21-cv-03832
                        UN,et al, V. FUJIHANA RESTAURANT CORP
               d/b/a Fuji Hana Kosher Japanese Restaurant d/b/a Fuji Hana et at.

        Your signed and filled-out Plaintiff Consent Form must be made returnable to the Clerk of
 Court(address above) and postmarked by 08/02/2022if your signed and filled-out Plaintiff
 Consent Form is not postmarked by mmimm you may not be able to participate in the
federal law portion of this lawsuit or share in a monetary damage. You can also fax the Plaintiff
 Consent Form to (718)762-1342 or scan and email it to troylaw@trovpllc.com.

                                                                        ^f       ^           ^ id
08/02/2022.                                                                                     #

                                  (718) 762-1342
 troy I aw@troyp I c. conio


8. Do I have an attorney in this lawsuit?
        The Plaintiffs in this lawsuit are represented by Troy Law, FLLC, 41-25 Kissena
 Boulevard, Suite 103, Flushing, New York 11355,(718)762-1324.

                                                41-25 Kissena Boulevard, Suite 103,
 Flushing, New York 11355, (718) 762-1324

        You may choose to be represented by Plaintiffs' counsel in this case. However, you also
 have the right to hire any attorney of your choice to represent you in this matter. However,if you
 choose not to be represented by Troy Law,PLLC, you will need to confer with the attorneys you
 are hiring regarding their costs and fees.


                                                      Troy Law, PLLC



 10. How will the attorneys be paid?

        If you choose to be represented by Troy Law,PLLC,their costs and fees will be paid out
 ofany settlement or moneyjudgment Plaintiffs receive against Defendants.Ifthere is no settlement
 or money judgment, Troy Law,PLLC will not receive any fee. You will not be required to pay
 anything out ofpocket for services provided by Troy Law,PLLC.
Case 1:21-cv-03832-NCM-JRC Document 34 Filed 07/13/22 Page 7 of 9 PageID #: 276




                                                                                                  VI >




        If you select an attorney other than Troy Law,PLLC to re present you in this aetion, you
 may join this lawsuit by submitting an appropriate consent form directly to the Clerk of Court by
 the deadline indicated herein.

                                                                     g-T             a           j:


 11. What happens if||[ do nbthing at all?
        If you do nothing, you will not be part of the lawsuit. T1is means that if the lawsuit is
 successful, you ^vill not c|ollect any money from it. It also means ^ou will not be affected by any
 court decisions in the lawsuit, whether favorable or unfavorable




 12. How can I obtain additional information?

        Further information about this Notice, the deadline for joining the lawsuit, the form
 provided or answers to other questions concerning this lawsuit ma y be obtained by contacting the
 Troy Law,PLLC at(718)762-1324. Substantive communication with Troy Law,PLLC for the
 purpose of obtaining legal advice are presumed privileged anc confidential and will not be
 disclosed to anyone without your permission.


                if&t, (718) 762fl324                                                     Troy Law,



                     This notice has been authorized by
                                                      ! le court.



        This notice and its contents have been authorized by a federal judge for the United
 States District Court for the Eastern District of New York. The Court has not yet ruled on
 whether Plaintiffs' claims or Defendants' defenses have any midrit. However, the Court is not
 giving any advice on whether y6u should or should notjoin the la vsuit.


                                                                    I ^ it^A.i;f

                     Please do not write or call the court about his notice.
Case 1:21-cv-03832-NCM-JRC Document 34 Filed 07/13/22 Page 8 of 9 PageID #: 277

5732+42



                         PLAINTIFF CONSENT FORM ^4-^

IF YOU RECEIVED THIS FORM AND WANT TO JOIN THIS LAWSUIT, PLEASE
COMPLETE THESE TWO STEPS:




       A.      COMPLETE AND SIGN THIS PLAINTIFF CONSENT FORM; AND
       A.                                     ^ :

       B.      USE THE ENCLOSED ENVELOPE TO RETURN THIS FORM TO THE

            - ADDRESS BELOW NOT LATER THAN 08/02/2022
       B.      08/02^0^S-(*.fflitm-6^'f*##ft.*;f5-f-®«T*Jbh.
I consent to be a party plaintiff in the lawsuit LIN, et al v. FUJI HANA RESTAURANT CORP
d/b/a Fuji Hana Kosher Japanese Restaurant d/b/a Fuji Hana, et al, U.S. District Court,
EASTERN DISTRICT OF NEW YORK,Civil Action No. 21-cv-03832 in order to seek redress
for violations of the Fair Labor Standards Act, pursuant to 29 U.S.C. § 216(b).
                                                    21-cv-03832         LIN, et al. v. FUJI
HANA RESTAURANT CORP d/b/a Fuji Hana Kosher Japanese Restaurant d/b/a Fuji Hana,
et                                  29 USG
 § 216(b) o

Please check ONE of the following options:
■ifi4# T             :

      Ihereby designate Plaintiffs and their counsels Troy Law, PLLC ("the Firm") to represent me
and make decisions on my behalf concerning the litigation and any settlement. I understand that
reasonable costs expended on my behalf will be deducted from any settlement or judgment amount on
a pro rata basis among all other plaintiffs. I understand that the Firm will petition the Court for
reasonable attorneys' fees and expenses should this case settle or a money judgment is received and
will reCeive~a propsrtlorn of any such gross settlement orjudgment amount: Lagreeto be boundby any
adjudication of this action by a court, whether it is favorable or unfavorable.
                                   Troy Law, PLLC (




      I wish to proceed with alternative counsel of my choosing, or on my own.


 Jiang. Mingxing
Name (printed) -ik^ ( X ^ ^^ ^)
Jiang, Mingxing
          Case 1:21-cv-03832-NCM-JRC Document 34 Filed 07/13/22 Page 9 of 9 PageID #: 278
                                                                                       $0.53 «
                                                                                                       nc''V£3'




176 ELDRIDGE ST APT BA                                          NEW YCmK NY iOO                us PCSTAGE'M
                                                                                                riRST.CUXSS
                                                                                               rj2SV/OC146D7S04
NY, NY 10002                                                    11 XSl. 2B2.2. PH 13 L              2aOOliS69'i
                                                                                                      7!f t1355.
                                                                                                   JUN 25 2022




                                                  m
                                            ^LERK OFIraURT
                                        United States Dj^rict Court
                                       EasternDtetfict of New York
                                           225 Cadman Plaza East
                                         Brooklyn, New York 11201

                                                RE; NYED21-CV-03S32
                                   LIN, et al. v. FUJI HANA RESTAURANT CORP
                           d/b/a Fuji Hana Kosher Japanese Restaurant d/b/a Fuji Hana et al.


                              s i jrTw i — i C31 SOS
